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IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF VIRGINI AGE COURT
Alexandria Division Au 7 9 2024
UNITED STATES OF AMERICA

CLERK, U.S. DISTRICT COURT
ALEXANDRIA, VIRGINIA

Vv.
Case No. 1:24-cr-180-PTG
RAYMOND RAHBAR JR.,

Defendant.

JOINT MOTION FOR ENTRY OF A STIPULATED PROTECTIVE ORDER

The United States of America, by and through Jessica D. Aber, United States Attorney,
and Christopher J. Hood, Assistant United States Attorney, and the defendant, by his undersigned
counsel, respectfully move this Court for entry of the attached stipulated Protective Order, pursuant
to Federal Rule of Criminal Procedure 16(d)(1) and Federal Rule of Evidence 502(d). In support
thereof, the parties state as follows:

1. During the course of the investigation, the United States has gathered or generated
voluminous documents, including electronic records, which contain the confidential information
and Personally Identifiable Information (PII), such as social security numbers, tax information, or
other sensitive information for victims, co-defendants, and non-parties in this case. These
documents and electronic records include, but are not limited to, business records, law enforcement
investigative reports, and other documents obtained by grand jury subpoena, grand jury testimony
and/or other Jencks Act materials. The United States intends to produce these documents and
electronic records (the “Protected Documents’), in accordance with the Federal Rules of Criminal

Procedure, relevant case law, and any discovery order that is entered in this matter.

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2. Accordingly, the proposed Protective Order regulates discovery in this case by
restricting the use and dissemination of documents and electronic records obtained through
discovery. In sum, the proposed Protective Order prohibits the dissemination of these documents
and electronic records and the information contained therein to third parties, other than as
necessary for the defendant’s investigation of the allegations and the preparation of his defenses.
In addition, the proposed Protective Order prohibits the defendant from reviewing any Protected
Documents outside of counsel's presence.

3. The defendant and his counsel have reviewed this Motion and the Protective Order,
and have agreed to its terms.

WHEREFORE, the undersigned respectfully request that the Court enter the proposed
Protective Order.

Respectfully submitted,

Jessica D. Aber
United States Attorney

» CH

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